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                 United States Court of Appeals
                            FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                      ____________
No. 23-3061                                                September Term, 2024
                                                                     1:21-cr-00040-TNM-1
                                                       Filed On: January 27, 2025
United States of America,

              Appellee

        v.

Patrick Edward McCaughey, III,

              Appellant

        BEFORE:      Millett, Wilkins, and Childs, Circuit Judges

                                        ORDER

        Upon consideration of the motion to vacate conviction and remand for dismissal,
it is

      ORDERED that the judgment of the district court be vacated and the case be
remanded with instructions to dismiss the case as moot. See United States v. Schaffer,
240 F.3d 35, 37–38 (D.C. Cir. 2001) (en banc).

        Pursuant to D.C. Circuit Rule 36, this disposition will not be published. The Clerk
is directed to issue the mandate forthwith to the district court.


                                       Per Curiam


                                                         FOR THE COURT:
                                                         Clifton B. Cislak, Clerk

                                                 BY:     /s/
                                                         Michael C. McGrail
                                                         Deputy Clerk
